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 5
 6 Attorneys for Plaintiff
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-239 MCE
12                                Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                         STATUS CONFERENCE; ORDER
13                           v.
                                                         DATE: June 13, 2019
14   LORAINE DIXON,                                      TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
15                                Defendant.
16
17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:
20          1.      This matter is set for jury trial set to begin November 4, 2019. Time under the Speedy

21 Trial Act was previously excluded until the first day of trial under Local Code T4 for defense
22 preparation.
23          2.      At the request of the parties, the Court also previously set an interim status conference for

24 June 13, 2019.
25          3.      By this stipulation, the parties now move to continue that status conference from June 13,

26 2019, to July 25, 2019.
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      STIPULATION AND ORDER REGARDING CONTINUANCE         1
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 1          4.     The parties agree and stipulate that this continuance will provide both parties additional

 2 time to prepare for that status conference and otherwise continue preparing for trial.
 3          IT IS SO STIPULATED.

 4
 5
     Dated: May 22, 2019                                    MCGREGOR W. SCOTT
 6                                                          United States Attorney
 7
                                                            /s/ MATTHEW M. YELOVICH
 8                                                          MATTHEW M. YELOVICH
                                                            Assistant United States Attorney
 9
10
     Dated: May 22, 2019                                    /s/ JEROME PRICE
11                                                          JEROME PRICE
12                                                          Counsel for Defendant
                                                            LORAINE DIXON
13
14                                                  ORDER
15          IT IS SO ORDERED.
16 Dated: May 23, 2019
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      STIPULATION AND ORDER REGARDING CONTINUANCE       2
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